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                                         1   WOODRUFF, SPRADLIN & SMART, APC
                                             JEANNE L. TOLLISON - State Bar No. 238970
                                         2   jtollison@wss-law.com
                                             WALTER M. CRANDALL - State Bar No. 250976                               JS-6
                                         3   wcrandall@wss-law.com
                                             555 Anton Boulevard, Suite 1200
                                         4   Costa Mesa, California 92626-7670
                                             Telephone: (714) 558-7000
                                         5   Facsimile: (714) 835-7787
                                         6   Attorneys for Defendants RIVERSIDE TRANSIT AGENCY, a public
                                             entity, and TOM FRANKLIN, STEPHANIE SIRLS, sued erroneously
                                         7   as STEPHINE SIRLS, and HALEY NIELSEN, sued erroneously as
                                             HALEY NIESON, individually and in their official capacities as
                                         8   employees of Riverside Transit Agency, a public entity
                                         9
                                        10                                 UNITED STATES DISTRICT COURT
                                        11                 CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                                        12
                                        13   JARROD GORDON,                                  CASE NO.: 5:20-cv-02424-RGK (AGR)
WOODRUFF, SPRADLIN

                     ATTORNEYS AT LAW
                        COSTA MESA
    & SMART




                                        14                    Plaintiff,                     JUDGE: R. GARY KLAUSNER
                                                                                             MAGISTRATE JUDGE: ALICIA G.
                                        15   v.                                              ROSENBERG
                                        16   RIVERSIDE TRANSIT AGENCY, in its                [PROPOSED] ORDER RE:
                                             official capacity; COUNTY OF                    DISMISSAL
                                        17   RIVERSIDE, in its official capacity;
                                             TOM FRANKLIN, individual and                    HEARING DATES PENDING:
                                        18   official capacity; STEPHINE SIRLS,              NONE
                                             individual and official capacity; HALEY
                                        19   NIESON, individual and official
                                             capacity,
                                        20
                                                              Defendants.
                                        21
                                        22
                                        23               On November 18, 2020, Plaintiff, proceeding pro se and in forma pauperis,
                                        24   filed a complaint pursuant to 42 U.S.C. § 1983 against the Riverside Transit Agency
                                        25   (“RTA”); the County of Riverside (“County”); Tom Franklin, chief operations officer
                                        26   of RTA; and RTA employees Stephanie Sirls (sued as “Stephine Sirls”), Haley
                                        27   Nielsen (sued as “Haley Nieson”), and Does 1 through 4. (Dkt. No. 1.) The County
                                        28   filed an answer. (Dkt. No. 12.)
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                                         1               On April 12, 2021, RTA, Franklin, Sirls and Nielsen (“RTA Defendants”) filed
                                         2   a motion to dismiss the complaint under Fed. R. Civ. P. 12(b)(6). (Dkt. No. 31.)
                                         3   Plaintiff filed an opposition to the motion to dismiss. (Dkt. No. 36.) The RTA
                                         4   Defendants filed a reply. (Dkt. No. 38.) The motion was taken under submission.
                                         5               On July 22, 2021, Magistrate Judge Alicia Rosenberg issued a Report and
                                         6   Recommendation that the District Court issue an order (1) accepting the Report’s
                                         7   findings and recommendation; (2) granting RTA Defendants’ motion to dismiss under
                                         8   Fed. R. Civ. P. 12(b)(6) as follows: (a) dismissing all claims with leave to amend; and
                                         9   (b) dismissing Plaintiff’s request for punitive damages against RTA and Franklin,
                                        10   Sirls and Nielsen in their official capacity without leave to amend; and (3) granting
                                        11   Plaintiff leave to file a First Amended Complaint consistent with this Report within 30
                                        12   days after the District Court’s order. (Dkt. Nos. 45 and 46)
                                        13               No objections to the Report were filed.
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                        COSTA MESA
    & SMART




                                        14               On September 2, 2021, this Court accepted the findings and recommendation of
                                        15   the Magistrate Judge and ordered that the motion to dismiss filed by Defendants
                                        16   Riverside Transit Agency, Tom Franklin, Stephanie Sirls and Hailey Nielsen is
                                        17   GRANTED IN PART AND DENIED IN PART as follows:
                                        18               (1)   All claims are dismissed with leave to amend;
                                        19               (2)   Plaintiff’s request for punitive damages against RTA and Franklin, Sirls
                                        20   and Nielsen in their official capacity is dismissed without leave to amend; and
                                        21               (3)   Plaintiff is granted leave to file a First Amended Complaint consistent
                                        22   with the Magistrate Judge’s Report within 30 days after the order.
                                        23               The Order advised Plaintiff that if he failed to file a Notice of Voluntary
                                        24   Dismissal of the County of Riverside and a timely First Amended Complaint within
                                        25   30 days after the entry of the order, the entire action against all Defendants may be
                                        26   dismissed. (Dkt. No. 52)
                                        27               Plaintiff failed to timely file a Notice of Voluntary Dismissal of the County of
                                        28   Riverside and also failed to file a timely First Amended Complaint,
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